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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF INDIANA
                                    INDIANAPOLIS DIVISION

UNITED STATES OF AMERICA,                     )
                                              )
                         Plaintiff,           )
                                              )
                  V.                          )      CAUSE NO. 1:21-cr-0243-JPH-DML
                                              )
NATHAN CANARY,                                )
                                              )
                         Defendant.           )

                               MOTION TO DISMISS INDICTMENT

       The United States of America, by counsel, Zachary A. Myers, United States Attorney for the

Southern District of Indiana, and Michelle P. Brady, Assistant United States Attorney, now respectfully

moves to dismiss the Indictment against the above-captioned defendant and in support thereof states:

       1.      On August 18, 2021, Defendant Nathan Canary was charged in a three-count

indictment. (Dkt. 15).

       2.      On April 12, 2022, Defendant Nathan Canary was charged in a subsequent six-count

indictment (United States v. Adewale Adediran, et al 1:22-cr-00057-JMS-MG). (Dkt. 1).

       3.      The United States, in the interests of justice, now respectfully moves this Honorable

Court to dismiss the indictment (Dkt. 15) against Nathan Canary.
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       WHEREFORE, the United States respectfully requests this Honorable Court to dismiss the

indictment against Nathan Canary.




                                          Respectfully submitted,

                                          ZACHARY A. MYERS
                                          United States Attorney




                                    By:   /s/ Michelle P. Brady
                                           Michelle P. Brady
                                           Assistant United States Attorney
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                                  CERTIFICATE OF SERVICE



       I hereby certify that on May 27, 2022, a copy of the foregoing Motion to Dismiss Indictment

was filed electronically. Service of this filing will be made on all ECF-registered counsel by

operation of the court's electronic filing system. Parties may access this filing through the court's

system.


                                      By:     /s/ Michelle P. Brady
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